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 2 WILLIAM S. WONG
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 4 Telephone: 916-554-2700

 5 Attorneys for Respondent
   United States of America
 6

 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                           2:05-CR-00243-WBS-CKD

11                               Plaintiff/Respondent,   STIPULATION AND ORDER EXTENDING
                                                         DEADLINE FOR GOVERNMENT TO FILE
12                          v.                           RESPONSE TO SECTION 2255 MOTION
13   JAVARIS MARQUEZ TUBBS,

14                               Defendant/Movant.

15

16          Respondent United States of America, by and through its attorneys of record, Phillip A. Talbert,
17 United States Attorney, and William S. Wong, Assistant United States Attorney, hereby requests an

18 extension of time until March 03, 2017, in which to file its answering brief to defendant Javaris Tubbs’

19 section 2255 petition.

20          Counsel for the Government needs additional time to complete its research and to write its
21 opposition with the following reasons: (1) counsel for the Government began experiencing computer

22 problems beginning Thursday, February 2, 2017, which required IT personnel to eventually replace

23 counsel’s computer which operated the legal Dragon word processing software. Counsel’s new

24 computer was installed with the newest operating system Windows 10 which required counsel to

25 familiarize himself with this system; and (2) counsel continued to experience further computer issues

26 causing further delay in completing the Government’s opposition.
27          Carolyn M. Wiggin, counsel for defendant, does not oppose the Government’s request.
28


      GOVERNMENT’S REQUEST FOR EXTENSION OF TIME
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           Case 2:05-cr-00243-WBS-CKD Document 239 Filed 03/01/17 Page 2 of 2

 1 Dated: February 21, 2017                                      PHILLIP A. TALBERT
                                                                 Acting United States Attorney
 2

 3                                                               /s/ CAROLYN M. WIGGIN
                                                                 CAROLYN M. WIGGIN
 4                                                               Assistant United States Attorney
 5
     Dated: February 21, 2017                                    HEATHER E. WILLIAMS
 6                                                               Federal Defender
 7
                                                                 /s/ CAROLYN M. WIGGIN
 8                                                               CAROLYN M. WIGGIN
                                                                 Counsel for Movant
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11
                                                                ORDER
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             The Court, having received, read, and considered the stipulation of the parties, adopts the
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     stipulation of the parties in its entirety as its order.
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             It is further ordered that the Government’s answering brief to movant’s section 2255 motion is
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     now due March 03, 2017.
16
     Dated: February 28, 2017
17                                                        _____________________________________
                                                          CAROLYN K. DELANEY
18                                                        UNITED STATES MAGISTRATE JUDGE
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       GOVERNMENT’S REQUEST FOR EXTENSION OF TIME
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